
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/appellate/unpublished/a5052-14.pdf) could not be found on this server.
However, we found documents with names similar to the one you requested.Available documents:

/attorneys/assets/opinions/appellate/unpublished/a5054-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5057-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a4052-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5058-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5752-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5062-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5552-14.pdf (mistyped character)


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